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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

FTX TRADING LTD., et al., 1                         Case No. 22-11068 (JTD)

         Debtors.                                   (Jointly Administered)

                                                    Hearing Date: September 12, 2024 at 1:00 PM ET
                                                    Objection Deadline: July 5, 2024 at 4:00 PM ET


     SIXTH INTERIM FEE APPLICATION OF QUINN EMANUEL URQUHART &
                             SULLIVAN, LLP

Name of Applicant                                 Quinn Emanuel Urquhart & Sullivan, LLP
Authorized to Provide Professional Services to:   Debtors and Debtors-in-Possession
                                                  January 20, 2023 nunc pro tunc to
Date of Retention:
                                                  November 13, 2022
Period for which compensation and
                                                  February 1, 2024 through April 30, 2024
reimbursement is sought:
Amount of interim fees to be approved as
                                                  $4,607,885.47
actual, reasonable and necessary:
Amount of interim expenses sought as actual,
                                                  $15,892.98
reasonable and necessary:
                                                  $40,393,848.73 ($2,687,621.94 on account of
Total compensation paid to date:
                                                  Sixth Interim Fee Period)
                                                  $66,650.65 ($7,004.71 on account of Sixth
Total expenses paid to date:
                                                  Interim Fee Period)
Blended rate in this Application for all
                                                  $1,140.42
attorneys:



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
    number are 3288 and 4063 respectively. Due to the large number of debtor entities in these
    Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
    identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s,
    Antigua and Barbuda.
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Blended rate in this Application for all
                                                    $1,133.83
timekeepers:
Number of professionals included in this
                                                    63
Application:
Number of professionals not included in
                                                    5
staffing plan:
If applicable, difference between fees
budgeted and compensation sought                    $2,792,114.53
for this period:
Number of attorneys billing fewer
than 15 hours to this Application                   18
during this period:
Any rates higher than those approved or
                                                    Yes. See Application ¶ 11.
disclosed at retention?

This is a(n) ____ monthly        x       interim _____ final application




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FTX TRADING LTD., et al., 1                         Case No. 22-11068 (JTD)

         Debtors.                                   (Jointly Administered)

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     SIXTH INTERIM FEE APPLICATION OF QUINN EMANUEL URQUHART &
                             SULLIVAN, LLP

         Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”), special counsel to FTX

Trading Ltd. and its affiliated debtors and debtors-in-possession in the above-captioned cases

(collectively, the “Debtors”), hereby submits this Sixth Interim Fee Application of Quinn Emanuel

Urquhart & Sullivan, LLP (the “Application”) for allowance of compensation for professional

services rendered and reimbursement of expenses incurred for the period from February 1, 2024

through and including April 30, 2024 (the “Application Period”). In support of the Application,

Quinn Emanuel respectfully states as follows:




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
    number are 3288 and 4063 respectively. Due to the large number of debtor entities in these
    Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
    identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s,
    Antigua and Barbuda.
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                                          Background

       1.      On November 11 and November 14, 2022, 2 the Debtors filed voluntary chapter 11

petitions for relief. The Debtors continue to operate their businesses and manage their properties

as debtors-in-possession pursuant to Bankruptcy Code sections 1107(a) and 1108.              Joint

administration of the Debtors’ cases (the “Chapter 11 Cases”) was authorized by the Court by entry

of an order on November 22, 2022 [D.I. 128]. On December 15, 2022, the Office of the United

States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an Official Committee

of Unsecured Creditors (the “Committee”) pursuant to Bankruptcy Code section 1102 [D.I. 231].

       2.      On January 20, 2023, the Court entered the Order Authorizing the Retention and

Employment of Quinn Emanuel Urquhart & Sullivan, LLP as Special Counsel for the Debtors and

Debtors in Possession, Nunc Pro Tunc to November 13, 2022 [D.I. 548], authorizing the retention

and employment of Quinn Emanuel as the Debtors’ special counsel, nunc pro tunc to November

13, 2022.

       3.      On January 9, 2023, the Court entered the Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 435] (the “Interim

Compensation Order”).

       4.      On March 8, 2023, the Court entered the Order (I) Appointing Fee Examiner and

(II) Establishing Procedures for Consideration of Requested Fee Compensation and

Reimbursement of Expenses [D.I. 834] appointing Katherine Stadler (the “Fee Examiner”) to serve

as the fee examiner in these Chapter 11 Cases and establishing certain procedures in connection

therewith.



2
    November 11, 2022 is the petition date for all Debtors, except for Debtor West Realm Shires
    Inc.
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                                           Jurisdiction

       5.      The Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012. This matter is a core proceeding pursuant to

28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a final order or judgment by

the Court in connection with this Application to the extent it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments consistent with Article III of

the United States Constitution.

                                        Relief Requested

       6.      By this Application and in accordance with the Interim Compensation Order, Quinn

Emanuel seeks interim approval and allowance of its compensation for professional services

rendered and reimbursement of expenses incurred for the Application Period (the “Period

Compensation”), including authorization for the Debtors to pay the 20% holdback of fees as

provided under the Interim Compensation Order (the “Holdback”). Quinn Emanuel has filed and

served monthly fee statements covering the Application Period (collectively, the “Monthly Fee

Statements”). Each of the Monthly Fee Statements is incorporated by reference as if fully set forth

herein. For the avoidance of doubt, by this Application, Quinn Emanuel is seeking only allowance

of the Period Compensation previously set forth in the Monthly Fee Statements and payment of

the Holdback. Other than the Holdback, Quinn Emanuel is not requesting additional fees or

expense reimbursement above the Period Compensation.

       7.      As the Debtors’ special counsel, Quinn Emanuel has not been providing routine

chapter 11 services.    Rather, it has been tasked with specialized, complex litigation and


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investigatory roles, including investigating, analyzing, and prosecuting significant claims for the

benefit of the estates. Quinn Emanuel thus has been required to utilize some of its most

experienced attorneys to provide the highest quality representation for the Debtors and to respond

to various urgent needs to protect and maximize the value of the estates. Quinn Emanuel has and

will continue to minimize duplication with the Debtors’ other counsel.

       8.      In accordance with the United States Trustee’s Guidelines For Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 for

Attorneys in Larger Chapter 11 Cases (the “U.S. Trustee Guidelines”), this Application is

supported by the following exhibits:

               •      Exhibit A: a summary of compensation by each professional of Quinn
                      Emanuel that worked on the Chapter 11 Cases;

               •      Exhibit B: a summary of compensation by project category;

               •      Exhibit C: an expense summary;

               •      Exhibit D: Quinn Emanuel’s customary and comparable compensation
                      disclosures;

               •      Exhibit E: the estimated budget and staffing plan for Quinn Emanuel for
                      the Application Period; and

               •      Exhibit F: the Certification of Sascha N. Rand in support of the
                      Application.

                                   Compensation Requested

       9.      Quinn Emanuel seeks interim allowance of fees in the amount of $4,607,885.47 for

services rendered during the Application Period and reimbursement of expenses in the amount of

$15,892.98, which were incurred during the Application Period. In addition, Quinn Emanuel

requests that the Debtors be authorized to pay the $921,577.09 in fees representing the twenty

percent (20%) Holdback of fees.

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       10.     The services performed by Quinn Emanuel during the Application Period included,

among others, asset analysis and recovery, avoidance action analysis, bankruptcy litigation,

advising board of directors and corporate governance, investigations, and general case

administration.

       11.     The rates set forth in Exhibit A are Quinn Emanuel’s normal hourly rates of

compensation for work of this character, discounted by 10%. As set forth in Quinn Emanuel’s

Fourth Interim Fee Application [D.I. 4850], Quinn Emanuel’s hourly rates increased as of

September 1, 2023, to the following:

  Partners                                              $1,354.50 – $2,025.00
  Associates & Of Counsel                               $792.00 – $1,413.00
  Paraprofessionals                                     $463.50 – $643.50

                                               Notice

       12.     Notice of this Application has been provided to: (a) the U.S. Trustee; (b) the

Committee; (c) the Fee Examiner; and (d) all other parties required to be given notice in the Interim

Compensation Order. Quinn Emanuel submits that, in light of the nature of the relief requested,

no other or further notice need be provided.

                                             Conclusion

       WHEREFORE, Quinn Emanuel respectfully requests that the Court (i) approve the

Application and (ii) grant such further relief as is just and proper.



Dated: New York, New York
       June 14, 2024


                                               /s/ Sascha N. Rand
                                               Sascha N. Rand
                                               Partner, Quinn Emanuel Urquhart & Sullivan, LLP

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